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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 KAIST IP US LLC,                                 §
                                                  §
                    Plaintiff                     §
                                                  §
        v.                                        §      NO. 2:16-cv-01314-JRG-RSP
                                                  §
 SAMSUNG ELECTRONICS CO., LTD.;                   §      JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS AMERICA,                     §
 INC.; SAMSUNG SEMICONDUCTOR,                     §
 INC.; SAMSUNG AUSTIN                             §
 SEMICONDUCTOR, LLC;                              §
 GLOBALFOUNDRIES INC.;                            §
 GLOBALFOUNDRIES U.S. INC.; and                   §
 QUALCOMM INCORPORATED,                           §
                                                  §
                    Defendants.

     DECLARATION OF JEFFREY D. COMEAU IN SUPPORT OF DEFENDANTS’
           MOTION TO EXCLUDE OPINION AND TESTIMONY OF
             PLAINTIFF’S DAMAGES EXPERT ROY WEINSTEIN

 I, Jeffrey D. Comeau, hereby declare:

        1.      I am an attorney with the law firm Paul Hastings LLP, and counsel for Defendants

 Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung Semiconductor,

 Inc., Samsung Austin Semiconductor, LLC, Globalfoundries Inc., Globalfoundries U.S. Inc., and

 QUALCOMM Incorporated (collectively, “Defendants”). I have personal knowledge of the

 facts contained in the declaration and, if called upon to do so, I could and would testify

 competently to the matters set forth herein.

        2.      Attached hereto as Exhibit 1 is a true and correct copy of Roy Weinstein’s

 February 5, 2018 Expert Report.

        3.      Attached hereto as Exhibit 2 is a true and correct copy of the Appendix to Roy

 Weinstein’s February 5, 2018 Expert Report.
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        4.      Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the

 transcript of the deposition of Roy Weinstein, taken March 14, 2018.

        5.      Attached hereto as Exhibit 4 is a true and correct copy of an email string

 demanding all data used for the regression analysis in native form, dated February 8, 2018 and

 February 15, 2018.

        6.      Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the data

 file produced by Plaintiff containing 14 of the potential variables from the 300+ available from

 SpecTrax, KAIST-034934.

        7.      Attached hereto as Exhibit 6 is a true and correct copy of an email string

 regarding an agreement by the parties on service of a supplemental rebuttal report on regression,

 dated March 9, 2018.

        8.      Attached hereto as Exhibit 7 is a true and correct copy of U.S. Patent No.

 6,885,055, dated April 26, 2005.

        9.      Attached hereto as Exhibit 8 is a true and correct copy of Disclosure of Asserted

 Claims and Infringement Contentions by KAIST IP US LLC, dated March 13, 2017.

        10.     Attached hereto as Exhibit 9 is a true and correct copy of Dr. Stephen Becker’s

 Supplemental Report, dated March 9, 2018.

        11.     Attached hereto as Exhibit 10 is a true and correct copy of Dr. Kelin Kuhn’s

 Expert Report, dated February 5, 2018.

        I declare under penalty of perjury that the foregoing is true and correct. Executed this

 16th day of March, 2018, in Los Angeles, California.

                                                     /s/ Jeffrey D. Comeau
                                                     Jeffrey D. Comeau




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